                                            81,7('67$7(6',675,&7&2857
                                            :(67(51',675,&72)9,5*,1,$
                                                      ROANOKE

81,7('67$7(62)$0(5,&$
9
                                                                                                        25'(52)'(7(17,21
                                                                                                                3(1',1*75,$/
MONTEZ LAMAR ALLEN                                                                              &$6(12 4:18CR00012

         ,QDFFRUGDQFHZLWKWKH%DLO5HIRUP$FW86&IDGHWHQWLRQKHDULQJKDVEHHQKHOG,FRQFOXGHWKDWWKHIROORZLQJ
IDFWVUHTXLUHWKHGHWHQWLRQRIWKHGHIHQGDQWSHQGLQJWULDOLQWKLVFDVH

                                                             FINDINGS OF FACT

        7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH
           DIRUZKLFKDPD[LPXPWHUPRILPSULVRQPHQWRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ          18:1962-7471.F                           
        7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ,WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV
           ZLOOUHDVRQDEO\DVVXUHWKHDSSHDUDQFHRIWKHGHIHQGDQWDVUHTXLUHGDQGWKHVDIHW\RIWKHFRPPXQLW\

                                             STATEMENT OF REASONS FOR DETENTION
            ,ILQGWKDWWKHFUHGLEOHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHKHDULQJHVWDEOLVKHVWKDW

Testimony and evidence establishes that defendant is a gang member involved in gang activities. Evidence adduced at the hearing
has the defendant in the vicinity of at least one murder. Social media posts, messages and photos taken from defendant's Facebook
accounts are replete with evidence that defendant was attempting to distribute marijuana in the Danville area and involved with guns
and gang activities. While defendant does not have a serious criminal history and he is not a convicted felon, the court finds that the
defendant is indeed a danger to the community due to his strong ties to the gang, selling drugs, and openly discussing firearm and
drugs sales on Facebook and to law enforcement once he was taken into custody.




                                                DIRECTIONS REGARDING DETENTION

         7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUKLVGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUEHLQJKHOGLQFXVWRG\SHQGLQJDSSHDO
7KHGHIHQGDQWVKDOOEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\IRUSULYDWHFRQVXOWDWLRQZLWKGHIHQVHFRXQVHO2QRUGHURIDFRXUWRIWKH8QLWHG
6WDWHVRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\VKDOOGHOLYHUWKHGHIHQGDQWWRWKH
8QLWHG6WDWHV0DUVKDOIRUWKHSXUSRVHRIDQDSSHDUDQFHLQFRQQHFWLRQZLWKDFRXUWSURFHHGLQJ

                  7KH&OHUNLVGLUHFWHGWRVHQGFHUWLILHGFRSLHVRIWKLV2UGHUWRWKHGHIHQGDQWRUFRXQVHOIRUWKHGHIHQGDQWWRWKH8QLWHG
6WDWHV$WWRUQH\5RDQRNH9$DQGWRWKH8QLWHG6WDWHV0DUVKDO5RDQRNH9$

                     (17(57KLV September 4, 2018
                                                                                                     Robert S. Ballou
                                                                                                                       5REHUW6%DOORX
                                                                                                            8QLWHG6WDWHV0DJLVWUDWH-XGJH


           Case 4:18-cr-00012-MFU-RSB Document 167 Filed 09/05/18 Page 1 of 1 Pageid#: 561
